This is an original action to review an award of the State Industrial Commission entered on the 17th day of December, 1931, awarding claimant the sum of $600 for partial permanent loss of hearing in both ears and to pay all reasonable medical bills incurred by claimant by reason of said accidental injury.
The facts and the issues of law in this case are similar to the facts and issues of law involved in causes Nos. 22844, 23042, 23043, mid 23044, filed in this court. Upon motion of petitioner and application of respondent, the briefs in said numbered causes have been substituted as briefs in this case, and this cause submitted on briefs and oral argument in said numbered cases.
Each of the above numbered causes has heretofore been decided adversely to the petitioner, and opinion rendered affirming the award of the Industrial Commission.
Under the authority of the Indian Territory Illuminating Oil Co. v. Willlams, No. 22844, 157 Okla. 80, 10 P.2d 1093; Indian Territory Illuminating Oil Co. v. Sharver, No. 23042,157 Okla. 117, 11 P.2d 187; Indian Territory Illuminating Oil Co. v. Welch, No. 23043, 561 Okla. 243, 10 P.2d 678; and Indian Territory Illuminating Oil Co. v. Severe, No. 23044,156 Okla. 246, 10 P.2d 681, the contentions of petitioner in this case are without support. Award affirmed.
Note. — See under (1) R. C. L. Perm. Supp. p. 6215; R. C. L. Pocket Part, title "Workmen's Compensation," § 81. (2) annotation in L. R. A. 1916A, 86; L. R. A. 1917D, 139; L. R. A. 1918E, 557; 78 A. L. R. 1232; 28 R. C. L. 825.